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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

  DELROY A. CHAMBERS, JR.,

         Plaintiff,

  v.

  ALBERTO FAUR, doing business as
  EFA REALTY,

        Defendant.
  _________________________________________/

                                           COMPLAINT
                                               and
                                          JURY DEMAND

         Plaintiff, Delroy A. Chambers, Jr., by and through his undersigned attorneys, files this

  Complaint for injunctive and declaratory relief, damages, costs, and attorneys’ fees against

  Defendant, Alberto Faur, doing business as EFA Realty, and as good grounds states as follows:

                                  PRELIMINARY STATEMENT

         1.      This action arises as a result of Defendant’s discriminatory actions perpetrated

  against Black people with respect to the rental of a home located in Miami, Florida (the

  “Dwelling”).

         2.      Specifically, Defendant has violated the Fair Housing Act by, among other things,

  refusing to negotiate, and otherwise making unavailable and denying the Dwelling to Mr.

  Chambers because of race.

                                  JURISDICTION AND VENUE

         3.      Jurisdiction is invoked pursuant to 42 U.S.C. § 3613(a), in that Plaintiff asserts his

  claims of housing discrimination in a civil action, and also pursuant to 28 U.S.C. §§ 1331, 2201
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  and 1343(a)(4), in that this is a civil action seeking to redress the deprivation of the right to fair

  housing secured to Plaintiff by the Fair Housing Act.

          4.       Plaintiff seeks declaratory relief pursuant to 28 U.S.C. §§ 2201 and 2202. Plaintiff

  seeks permanent injunctive relief pursuant to Rule 65, Federal Rules of Civil Procedure.

          5.       Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b) and 1391(c) in that

  the subject property is located in this division of this district, the events and/or omissions giving

  rise to the claims herein occurred in this district, and the Defendant’s principal place of business

  is in this district.

                                                PARTIES

          6.       Plaintiff, Delroy A. Chambers, Jr., is a Black male that serves as a fair housing

  tester who seeks to enforce fair housing laws so that people are protected from discriminatory

  housing practices. Mr. Chambers attempts to accomplish these goals by engaging in testing for

  fair housing violations and pursuing enforcement of meritorious claims, among other things. In

  this capacity, Mr. Chambers poses as a renter or purchaser for the purpose of collecting evidence

  of discriminatory housing practices, without intent to rent or purchase a home. At all relevant

  times, Mr. Chambers was acting in this capacity as a tester when he conducted an investigation

  into the discriminatory actions perpetuated by Defendant.

          7.       As a fair housing tester and advocate dedicated to advancing the rights of those

  historically discriminated against, Mr. Chambers attempts to locate housing providers and

  advertisers in order to test their compliance with various fair housing laws. Mr. Chambers

  conducts such testing efforts consistent with the guidance and instructions outlined by the U.S.

  Department of Housing and Urban Development (HUD), housing advocacy groups, and

  established case law.
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            8.    Mr. Chambers is deeply committed to fair housing and the goals of the Fair Housing

  Act. Mr. Chambers was and continues to be adversely affected by the acts, omissions, policies,

  and practices of the Defendant.

            9.    Defendant, Alberto Faur, doing business as EFA Realty, is engaged in the business

  of real estate and is comprised of licensed real estate professionals, including Nicole Faur.

                                      FACTUAL ALLEGATIONS

            10.   While investigating discrimination in the housing market in June 2022, Mr.

  Chambers encountered an advertisement for the Dwelling. The advertisement plainly stated,

  among other things, “clear background” as a requirement for tenancy.

            11.   The advertisement indicated that the Dwelling was listed by the Defendant and

  provided contact information for Defendant and its licensed real estate sales associate, Nicole Faur.

            12.   As part of Mr. Chambers’s fair housing testing efforts described above, Mr.

  Chambers, posing as a potential renter, attempted to negotiate for the rental of the Dwelling with

  Defendant by confirming the availability of the Dwelling.

            13.   Defendant responded by text message and confirmed the availability of the

  Dwelling and offered to show the Dwelling to Mr. Chambers.

            14.   Mr. Chambers continued the test by asking Defendant for additional details about

  the “clear background” policy that was noted on the advertisement and inquiring whether any

  criminal background would result in a denial of the Dwelling, because of the criminal background

  policy.

            15.   Defendant responded and unequivocally confirmed that the Dwelling was subject

  to a “clear background” policy that would result in an automatic denial of the Dwelling to anyone

  with a criminal record, including Mr. Chambers.
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         16.     Defendant did not ask whether Mr. Chambers’s criminal background involved any

  convictions or only arrests, and instead stated and confirmed that Mr. Chambers would be denied

  the Dwelling, based on a policy that constitutes an automatic denial for any potential renter with

  any criminal background.

         17.     Defendant therefore ceased negotiating with Mr. Chambers regarding the Dwelling,

  and otherwise made the Dwelling unavailable and denied the Dwelling to him, based on a criminal

  background policy that takes arrests into consideration and includes a blanket prohibition serving

  to refuse rental of the Dwelling to any person with a criminal record, regardless of what the

  underlying conduct entailed, or whether any convictions had ever resulted from any accused

  conduct.

         18.     These statements clearly indicate that the rental of the Dwelling is subject to a

  blanket prohibition serving to refuse rental of the Dwelling to any person with any criminal record,

  including arrests, which is unlawful under the Fair Housing Act, as it has a disparate impact on

  Black people, and fails to serve a substantial, legitimate, nondiscriminatory interest of the housing

  provider.

         19.     Such actions and statements serve to discourage Mr. Chambers from applying,

  inspecting and renting the Dwelling; and restrict the choices of Mr. Chambers by word or conduct

  in connection with seeking, negotiating for, renting the Dwelling so as to perpetuate, or tend to

  perpetuate, segregated housing patterns, or to discourage or obstruct choices in a community,

  neighborhood or development. As such, these actions constitute efforts to deprive Mr. Chambers

  of housing opportunities.

         20.     HUD has found that “where a policy or practice that restricts access to housing on

  the basis of criminal history has a disparate impact on individuals of a particular race … such
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  policy or practice is unlawful under the Fair Housing Act if it is not necessary to serve a substantial,

  legitimate, nondiscriminatory interest of the housing provider.” See HUD, “Office of General

  Counsel Guidance on Application of Fair Housing Act Standards to the Use of Criminal Records

  by Providers of Housing and Real Estate-Related Transactions” (April 4, 2016).

          21.     According to recent local, regional, and national data; media, academic and

  governmental studies; and HUD findings; including, but not limited to, data from the U.S. Census

  Bureau, the Florida Department of Law Enforcement, the Federal Bureau of Investigation, the U.S.

  Department of Justice, and Florida’s Offender Based Transaction System, Black people are

  arrested, convicted, and imprisoned at vastly disproportional rates in Florida and the country as a

  whole, as well as in Miami-Dade County, Florida, where the Dwelling is located.

          22.     As such, the policy, which was the basis for Defendant’s refusal to negotiate with

  Mr. Chambers, making the Dwelling unavailable to Mr. Chambers and denying it to him, actually

  and predictably results in a disparate impact to Black people and therefore impacts and

  disadvantages Black people at significantly higher rates than White people, which in turn, reduces

  the availably of housing for Mr. Chambers and other Black people, as compared to White people.

          23.     HUD has found that no substantial, legitimate, nondiscriminatory interest can be

  served where “[a] housing provider … imposes a blanket prohibition on any person with any

  conviction record – not matter … what the underlying conduct entailed, or what the convicted

  person has done since then.” Id.

          24.     HUD has further found that “[a] housing provider with a policy or practice of

  excluding individuals because of one or more prior arrests (without any conviction) cannot satisfy

  its burden of showing that such policy or practice is necessary to achieve a substantial, legitimate,

  nondiscriminatory interest.” Id.
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         25.     As such, Defendant’s actions in refusing to negotiate with Mr. Chambers and

  making the Dwelling unavailable to Mr. Chambers and denying it to him based on a criminal

  background policy that includes a blanket prohibition that takes an applicant’s arrest history into

  consideration is unlawful under the Fair Housing Act, as it has a disparate impact on Black people,

  and fails to serve a substantial, legitimate, nondiscriminatory interest of the housing provider.

         26.     Mr. Chambers was angered and insulted that Defendant was refusing to negotiate

  and making the Dwelling unavailable to him and denying it to him based on its criminal

  background policy, which takes an applicant’s arrest history into consideration.

         27.     As a Black person who has been the subject of discrimination throughout his life,

  Mr. Chambers is particularly sensitive to discriminatory practices. Mr. Chambers was insulted

  and emotionally distressed by being denied housing based on Defendant’s criminal background

  policy, which includes a blanket prohibition based on any criminal record, including arrests, and

  by being subjected to such discriminatory policies.

         28.     Mr. Chambers was and is saddened, angered, and insulted by the fact that the

  Defendant refused to negotiate and otherwise made unavailable and denied the Dwelling to him

  based on a policy that has a discriminatory impact and serves no substantial, legitimate,

  nondiscriminatory interest. Mr. Chambers has spent a significant amount of time thinking about

  what occurred and all the other Black people who may have had housing made unavailable to them

  by Defendant based on the criminal background policy that includes a blanket prohibition and

  takes arrest history into consideration, and while doing so, has felt the aforementioned emotions.

         29.     Defendant’s unlawful conduct proximately caused Mr. Chambers to suffer the

  aforementioned emotions, which have manifested into stress, unpleasant rumination, mental strain,

  and feelings of indignity, hopelessness and anxiety about race discrimination in housing.
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         30.     Consistent with his fair housing testing efforts, Mr. Chambers has a practice of

  continuing to monitor and test those entities and individuals found to have been discriminating.

  To those ends, Mr. Chambers has and will continue monitoring Defendant and its agents in order

  to determine its ongoing compliance with the Fair Housing Act and will continue to do so

  throughout the pendency of this matter and after its conclusion.

                                      COUNT 1:
                          VIOLATION OF THE FAIR HOUSING ACT

         31.     Plaintiff repeats and realleges paragraphs 1 through 30 as if fully set forth herein.

         32.     This Count 1 is brought by Plaintiff against the Defendant, Alberto Faur, doing

  business as EFA Realty.

         33.     Defendant is liable to Plaintiff for all injuries caused by the Fair Housing Act

  violations committed by Defendant, and its agents.

         34.     Defendant, Alberto Faur, doing business as EFA Realty, authorized its agents to act

  for it when they committed the Fair Housing Act violations alleged herein. Defendant’s agents

  accepted the undertaking of acting on behalf of Defendant when they committed the Fair Housing

  Act violations alleged herein. Defendant had control over its agents when they committed the Fair

  Housing Act violations alleged herein.

         35.     Defendant has violated the Fair Housing Act by, among other things, otherwise

  making unavailable and denying the Dwelling to Mr. Chambers because of race.

         36.     A discriminatory purpose, not any legitimate reason, was a motivating factor behind

  Defendant’s aforementioned discriminatory actions and/or omissions.

         37.     As a result of Defendant’s discriminatory conduct - committed despite being

  engaged in the business of real estate, coupled with Plaintiff’s ongoing monitoring efforts -
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  Plaintiff has suffered, is continuing to suffer, and will in the future suffer irreparable loss and injury

  and a real and immediate threat of future discrimination by Defendant.

          38.     Defendant’s unlawful conduct and actions constitute direct evidence of

  discrimination and proximately caused Plaintiff’s damages as described above.

          39.     In engaging in this unlawful conduct described above, Defendant acted recklessly

  or intentionally. This is evidenced, in part, by the fact that Defendant is engaged in the real estate

  business, and despite that fact, chose to engage in unlawful discrimination.

          40.     As a tester who has been treated in a discriminatory fashion by Defendant, Mr.

  Chambers has suffered an injury in precisely the form the Fair Housing Act was intended to guard

  against, and therefore he has standing to maintain his claims under the Act's provisions.

          41.     Accordingly, Plaintiff is aggrieved by Defendant's discriminatory actions in

  violation of the Fair Housing Act.

          WHEREFORE, Plaintiff respectfully requests that the Court:

                  A.      declare the actions, omissions, policies, and procedures of Defendant,

  complained of herein to be in violation of the Fair Housing Act;

                  B.      enter a permanent injunction enjoining Defendant, its successors, and its

  servants, agents and employees, and all those acting in concert with it, from engaging in

  discrimination based on race;

                  C.      enter a permanent injunction compelling Defendant, its successors, and its

  servants, agents and employees, and all those acting in concert with it, to amend any and all

  policies, procedures and practices, which discriminate against persons based on race;
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                   D.      award compensatory damages to Plaintiff against Defendant, to compensate

  Plaintiff for, among other things, the emotional distress, anger, insult and injury caused by

  Defendant’s discriminatory actions;

                   E.      award Plaintiff his costs and reasonable attorneys’ fees in this action; and

                   F.      award Plaintiff such other and further relief as the Court deems just and

  proper.

                                     DEMAND FOR JURY TRIAL

            Pursuant to Rule 38(b), Federal Rules of Civil Procedure, Plaintiff demands a trial by jury

  on all issues so triable in this matter.


                                                          Respectfully submitted,

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